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              11                               UNITED STATES DISTRICT COURT
              12                               EASTERN DISTRICT OF CALIFORNIA
              13
              14 RALPH COLEMAN, et al.,                        Case No. 2:90-CV-00520-KJM-DB
              15                 Plaintiffs,                   PLAINTIFFS’ RESPONSE TO
                                                               DEFENDANTS’ CORRECTED
              16          v.                                   RESPONSE TO SPECIAL MASTER’S
                                                               JUNE 29, 2018 REPORT ON CDCR’S
              17 EDMUND G. BROWN, JR., et al.,                 MENTAL HEALTH SERVICES
                                                               DELIVERY SYSTEM PROGRAM
              18                 Defendants.                   GUIDE UPDATE
              19                                               Judge: Hon. Kimberly J. Mueller
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                                                                              Case No. 2:90-CV-00520-KJM-DB
                    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ CORRECTED RESPONSE TO SPECIAL MASTER’S JUNE 29,
[3274351.4]                          2018 REPORT ON CDCR’S MHSDS PROGRAM GUIDE UPDATE
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               1            Plaintiffs submit this filing in response to Defendants’ Corrected Response to the
               2 Special Master’s June 29, 2018 report to this Court on the parties’ and Special Master’s
               3 recent work to update the MHSDS Program Guide. See ECF No. 5862 (July 23, 2018)
               4 (“Defs’ Corrected Response”); see also ECF No. 5844 (June 29, 2018) (“Report on the
               5 Program Guide Update”).1
               6            Defendants object to the Special Master’s recommendation that Defendants be
               7 required to provide Plaintiffs and the Special Master with “any proposed Program Guide-
               8 related regulations . . . 90 days in advance of the public comment period” and that “any
               9 Program Guide-related policies currently incorporated into regulations that substantively
              10 change in the future” should be treated in the same manner. Defs’ Corrected Response at 2
              11 (citing Report on the Program Guide Update at 10) (internal alterations omitted).
              12 Defendants also object that the Special Master included in the Report on the Program
              13 Guide Update an overly broad definition of what proposed regulations should be subject to
              14 review in the future. Id. Plaintiffs support the Special Master’s recommendations in both
              15 regards.
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                   The interplay of Rule 53’s and the Order of Reference’s timing provisions has come up in
              20 this case several times, without clear resolution, see, e.g. Order, ECF No. 5571 at 2-3 (Feb.
                 23, 2017) (noting the conflicting timelines and declining to resolve the conflict); Plfs’ Obj.
              21 to the Fifteenth Monitoring Report of the Special Master, ECF No. 1750 at 3 n.1 (Feb. 2,
                 2006) (stating that Plaintiffs would “prepare a proposed amended Order of Reference for
              22 adoption by the Court to address” inconsistencies between the amended Rule 53(f) and the
                 Order of Reference); cf. Order, ECF No. 3731 at 2 n.1 (Nov. 23, 2009) (ruling that the
              23 standard of review from the Order of Reference would control where in conflict with
                 amendments to Rule 53(f)). Despite being on notice of the conflicting provisions in Rule
              24 53 and the Order of Reference, neither Defendants’ original nor Corrected Response was
                 filed before the earlier deadline expired, and Defendants neither requested nor received a
              25 stipulation or order authorizing the latter date. Defendants’ response should be excluded
                 as untimely. But to the extent this Court determines that Rule 53(f) governs the time for
              26 Defendants to respond to the Special Master’s Report on the Program Guide Update,
                 Plaintiffs also are entitled to an opportunity to be heard on Defendants’ objections. See
              27 Fed. R. Civ. P. 53(f)(1).
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                        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ CORRECTED RESPONSE TO SPECIAL MASTER’S JUNE 29,
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               1 I.       The Special Master’s Proposed 90-Day Advance Notice Period for Future
                          Proposed Regulations Does Not Create an Unnecessary Delay, but Instead
               2          Provides the Parties and Special Master Adequate Time to Review and
                          Consider any Changes to Policy Incorporated into the Proposed Regulations.
               3
               4          Defendants claim that 90 days’ advance notice of proposed regulatory changes is
               5 not necessary “because promulgating existing policies into regulations does not require
               6 negotiation of new policies.” Defs’ Corrected Response at 3. The implication of
               7 Defendants’ argument is that they can be trusted faithfully to codify into regulatory text the
               8 critical aspects of all “agreed-upon policies,” and thus permitting Plaintiffs and the Special
               9 Master a modest amount of time to confirm that fact and/or point out necessary changes is
              10 “unnecessary, wasteful, and an intrusion into California’s regulatory authority.” Id. But
              11 recent experience has demonstrated the fallacy of Defendants’ assertion and the necessity
              12 of the Special Master’s recommendation.
              13          Specifically, Plaintiffs recently commented on Defendants’ proposed amendments
              14 to regulations governing the placement of prisoners on so-called C status, which have not
              15 yet been released for public comment. Decl. of Jessica Winter ISO Plfs’ Response to
              16 Defs’ Corrected Response (“Winter Decl.”), ¶ 2 & Ex. A. The parties, under the
              17 supervision of the Special Master, previously had negotiated extensive revisions to
              18 Defendants’ C status policy, and those revisions were memorialized in Defendants’
              19 February 16, 2017 final C status memo. Id. at ¶ 2 & Ex. A at 1. Defendants’ newly
              20 proposed regulatory changes, however, reversed several major substantive components of
              21 the operational policy memo that the parties had specifically negotiated. See id., Ex. A.
              22 The proposed regulatory changes to the existing C status policy highlight the need for
              23 Plaintiffs and the Special Master to have an opportunity in the future to review and
              24 comment on any new proposed regulations before they are offered for public comment.
              25          Defendants are free to promulgate regulations pursuant to their statutory authority.
              26 They are not free, however, to claim that carefully crafted and negotiated Coleman policies
              27 affecting class members’ core rights need not be incorporated into the Program Guide
              28 because they are captured in regulations, when in fact those regulations materially deviate
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               1 from the final policies agreed upon by the parties and the Special Master. The Special
               2 Master’s recommendation for a short period of review of proposed text within the
               3 workgroup setting is more than warranted.
               4         Weighing on the other side of the balance, Defendants have not pointed to any
               5 substantial harm caused by providing Plaintiffs and the Special Master a short window in
               6 which to respond to proposed regulations prior to submitting the regulations for public
               7 comment. Nothing about the Special Master’s recommendation modifies or otherwise
               8 intrudes on the APA, as the proposed review process occurs before the formal
               9 promulgation process even starts. And indeed, as Defendants note, the public comment
              10 period is a minimum of 45 days, meaning a longer promulgation process is already
              11 contemplated and permissible under the law. Defs’ Corrected Response at 4 n.2. While
              12 Defendants note that a longer rulemaking time period is permissible, including the
              13 possibility of engaging in a “workshopping” process with the Special Master and
              14 Plaintiffs, they do not commit to treating proposed text purporting to codify negotiated
              15 remedial policies as complex or substantial for the purposes of triggering this process. See
              16 id. at 5-6.
              17         In short, the only negotiated-policy-turned-proposed-regulation that the parties have
              18 addressed since the Special Master filed his Report on the Program Guide Update is the C
              19 status policy. Winter Decl., ¶ 3. Defendants’ proposed regulations implementing that
              20 policy newly introduce substantial changes, some directly in conflict with the resolution of
              21 topics the parties specifically negotiated, demonstrating precisely why the Special Master’s
              22 recommendation is warranted and necessary. Where Defendants are translating a
              23 negotiated case-related policy into regulations, Plaintiffs and the Special Master should
              24 have an opportunity to review the proposed regulatory language to ensure it is consistent
              25 with the policy Defendants claim it will replace for the purposes of the remedy in this case.
              26 / / /
              27 / / /
              28 / / /
                                                             3                Case No. 2:90-CV-00520-KJM-DB
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               1 II.       The Special Master Properly Defined the Scope of Affected Policies that
                           Should Be Subject to Review by the Special Master and Plaintiffs Prior to any
               2           Public Comment Period.
               3           The Special Master properly required Defendants to submit proposed “Program
               4 Guide-related regulations”2 to Plaintiffs and the Special Master in the future, meaning “any
               5 and all policies which impact the delivery of mental health care to Coleman Class
               6 members,” including, for example, “custody-related policies (RVR, etc[.]).” Report on the
               7 Program Guide Update at 9 & n.7, 10. As Defendants implicitly acknowledge, not all
               8 Coleman remedial obligations are incorporated into the Program Guide, even as updated.3
               9
              10   2
                    The same is true of the Special Master’s reference to “Program Guide-related policies.”
                   Report on the Program Guide Update at 9, 10.
              11
                   3
                   For example, the Program Guide, even as updated, does not incorporate heat-plan
              12 requirements, which have been an aspect of this litigation since very nearly the beginning,
                 see, e.g., Order, Dkt. No. 161 (Mar. 24, 1992); Order, Dkt. No. 232 (May 11, 1992);
              13 Report and Recommendation, Dkt. 547 (June 6, 1994), at 2, and have remained relevant,
                 applicable, and enforceable throughout the litigation, see, e.g., Order, ECF No. 1800 (May
              14 2, 2006); ECF No. 5779 (Feb. 13, 2018), at 188, 199, 216-17.
              15 In addition, the order approving the final settlement in Hecker v. Brown, which was
                 incorporated into Coleman as part of a still-enforceable settlement agreement, obliges
              16 Defendants to ensure that class members are permitted equal access to programs and
                 services available to non-class members, and that class members are not excluded from
              17 those programs and services on the basis of their mental health disabilities, See Order for
                 Final Approval of Settlement Agreement, E.D. Cal. No. 2:05-CV-02441 KJM-DAD, ECF
              18 No. 148 (Mar. 2, 2015) (“Hecker Settlement”), ¶ 6. That broader, overarching obligation
                 continues, notwithstanding the fact that the Report on the Program Guide Update, and
              19 particularly the regulations identified therein, identify policies and procedures
                 implementing narrower facets and specific articulations of those principles. See, e.g.,
              20 Report on the Program Guide Update at 392 (referencing regulations discontinuing the
                 assessment of four security-level points for those receiving mental health services), id.
              21 (referencing milestone credits for Coleman class members), id. (addressing placement in
                 substance abuse treatment programs in CDCR).
              22
                 Finally, of course, Defendants remain obligated to comply with this Court’s many remedial
              23 and enforcement orders, regardless of whether they also are contained expressly in the
                 Program Guide, including, for example, those related to staffing, construction and bed
              24 planning, the full utilization of inpatient beds, and segregation, use of force, and discipline.
                 See, e.g., Order, ECF No. 5711 (Oct. 10, 2017) (discussing the history of staffing issues in
              25 the case and ordering Defendants to come into compliance with staffing ratios ordered in
                 their 2009 staffing plan); Order, ECF No. 5710 (Oct. 10, 2017) (resolving issues related to,
              26 and ordering compliance with, timelines for transfer of class members to mental health
                 crisis beds); Order, ECF No. 5610 (Apr. 19, 2017) (ordering Defendants to comply with
              27 timeframes for transfer of class members to intermediate and acute inpatient beds); Order,
                 (footnote continued)
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               1 See Defs’ Corrected Response at 7-8. Nevertheless, the parties and Special Master, in
               2 negotiations during the Program Guide Update process, were able relatively smoothly to
               3 identify and agree upon which policies were sufficiently case-related to warrant inclusion
               4 in the Report on the Program Guide Update, and have committed to engage in a similar
               5 process in the future. And the language in the Report on the Program Guide Update
               6 describes the scope of potential policies for review no more broadly than the scope of the
               7 policies the parties reviewed and negotiated smoothly in the Program Guide Update
               8 process. Indeed, any concerns Defendants have about the scope of the recommendation
               9 vis-à-vis regulatory changes that Defendants claim obviate the need to incorporate
              10 remedial policies into the Program Guide can be addressed pursuant to the Special
              11 Master’s recommendation for a workgroup process devoted to developing an improved
              12 method for addressing Program Guide modifications going forward—a recommendation to
              13 which Defendants do not object. See Report on the Program Guide Update at 9-10.
              14 Accordingly, Defendants’ objection is unfounded and inconsistent with the parties’ and
              15 Special Master’s working approach to updating the Program Guide.
              16 III.    Certification
              17         Plaintiffs certify that counsel has reviewed the court orders at the following docket
              18 and ECF entries: Dkt. No. 161 (Mar. 24, 1992); Dkt. No. 232 (May 11, 1992); ECF No.
              19 640 (Dec. 11, 1995); ECF No. 1800 (May 2, 2006); ECF No. 2345 (Aug. 2, 2007); ECF
              20 No. 3731 (Nov. 23, 2009); ECF No. 5116 (Mar. 18, 2014); ECF No. 5131 (Apr. 10, 2014);
              21 ECF No. 5171 (June 19, 2014); ECF No. 5571 (Feb. 23, 2017); ECF No. 5610 (Apr. 19,
              22
                 ECF No. 5171 (June 19, 2014) (ordering Defendants to continue to work with the Special
              23 Master on bed planning, staffing, and the provision of adequate treatment space); Order,
                 ECF No. 5131 (Apr. 10, 2014) (ordering Defendants to modify use of force and
              24 segregation practices); Order, ECF No. 5116 (Mar. 18, 2014) (addressing Defendants’ bed-
                 planning and construction projects to that date); Order, ECF No. 2345 (Aug. 2, 2007)
              25 (ordering Defendants to modify their disciplinary process for class members).
              26 Because so many aspects of Defendants’ remedial obligations in this case are not
                 incorporated into the Program Guide, it is particularly important that the Special Master
              27 define potentially relevant policies and proposed regulatory changes broadly.
              28
                                                             5                Case No. 2:90-CV-00520-KJM-DB
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               1 2017); ECF No. 5710 (Oct. 10, 2017); ECF No. 5711 (Oct. 10, 2017); ECF No. 5726
               2 (Nov. 6, 2017); ECF No. 5750 (Dec. 15, 2017); ECF No. 5832 (May 31, 2018); ECF No.
               3 5852 (July 12, 2018); ECF No. 5860 (July 20, 2018).
               4 DATED: August 3, 2018                Respectfully submitted,
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               6
                                                      By: /s/ Jessica Winter
               7                                          Jessica Winter
               8
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